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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                      v.                                  No. 22-cr-15 (APM)

  EDWARD VALLEJO,
                                Defendant.


                       NOTICE REGARDING VALLEJO EXHIBITS

       Mr. Vallejo provides notice that the following exhibits were either moved into evidence but

the record failed to capture their admission or were neglected to be moved but shown to the jury:

EV 172 (misidentified in the record as EV 305.3); EV 700; EV 903.

       WHEREFORE, Mr. Vallejo respectfully requests that the record reflect the admission of

the above-listed items of evidence during the government’s case at trial.



January 19, 2023                                     Respectfully submitted,

                                                     /s/ Matthew J. Peed .
                                                     Matthew J. Peed (D.C. Bar No. 503328)
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                                                     Counsel for Defendant Edward Vallejo




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